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                    United States District Court                                            FILED
                          Western District of Texas                                    January 19, 2024
                             El Paso Division                                        Clerk, U.S. District Court
                                                                                     Western District of Texas

                                                                               By:        Vmedina
                                                                                                        Deputy

UNITED STATES OF AMERICA                                 §
                                                         §
vs.                                                      §   Case Number: EP:23-CR-02507(1)-KC
                                                         §   LS
(1) Jesus Rodriguez De La Cruz                           §
                                                         §
  Defendant




          ORDER SETTING ATTORNEY MATTERS - STATUS
                        CONFERENCE
            IT IS HEREBY ORDERED that the above entitled and numbered case is set for
ATTORNEY MATTERS - STATUS CONFERENCE in Magistrate Courtroom, Room 512,
on the 5th Floor of the United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:

                        Tuesday, January 30, 2024 @ 02:45 PM

            IT IS FURTHER ORDERED that the Clerk of the Court shall send a copy of this
order to counsel for defendant, the United States Attorney, United States Pretrial Services and the
United States Probation Office, and any surety or custodian, if applicable. Further, counsel for
the defendant shall notify the defendant of this setting and, if the defendant is on bond, advise the
defendant to be present at this proceeding.

IT IS SO ORDERED this 19th day of January, 2024.




                                             ______________________________
                                             LEON SCHYDLOWER
                                             UNITED STATES MAGISTRATE JUDGE
